                         Case 8:23-cv-00519-HDV-JDE Document 37 Filed 10/23/23 Page 1 of 21 Page ID #:207



                                               1 BUCHALTER
                                                 A Professional Corporation
                                               2 DANA HOBART (SBN: 125139)
                                                 MATTHEW DRENAN (SBN: 302477)
                                               3 DANIEL C. SILVA (SBN: 264632)
                                                 BRIAN SHAW (SBN: 311613)
                                               4 18400 Von Karman Avenue, Suite 800
                                                 Irvine, CA 92612-0514
                                               5 Telephone: 949.760.1121
                                                 Fax: 949.720.0182
                                               6 Email: dhobart@buchalter.com
                                                 Email: mdrenan@buchalter.com
                                               7 Email: dsilva@buchalter.com
                                                 Email: bshaw@buchalter.com
                                               8
                                                 Attorneys for Plaintiff
                                               9 VIZIO, INC.
                                       10                                  UNITED STATES DISTRICT COURT
                                       11                         FOR THE CENTRAL DISTRICT OF CALIFORNIA
                                       12 VIZIO, INC.,                                     Case No. 8:23-cv-00519 HDV (JDEx)
                                       13                         Plaintiff,               SECOND AMENDED COMPLAINT
                                                                                           FOR:
                                       14                vs.
                                                                           (1) VIOLATION OF CALIFORNIA
                                       15 DEDICATED   LOGISTICS, LLC;           PENAL CODE § 496(a);
                                          DEDICATED LOGISTICS              (2) CONVERSION;
                                       16 SERVICES, LLC; TOTAL             (3) BREACH OF CONTRACT;
                                          LOGISTICS I, LLC; AND DOES 1-10, (4) BREACH OF CONTRACT
                                       17 INCLUSIVE,                            THIRD-PARTY BENEFICIARY,
                                                                                CIV. CODE § 1559;
                                       18           Defendant.             (5)  BREACH OF IMPLIED
                                                                                COVENANT OF GOOD FAITH
                                       19                                       AND FAIR DEALING;
                                                                           (6) NEGLIGENT SUPERVISION,
                                       20                                       HIRING, AND RETENTION;
                                                                           (7) FRAUD;
                                       21                                  (8) NEGLIGENT INTERFERENCE
                                                                                WITH PROSPECTIVE
                                       22                                       ECONOMIC RELATIONS;
                                                                           (9) INTENTIONAL INTERFERENCE
                                       23                                       WITH PROSPECTIVE
                                                                                ECONOMIC RELATIONS; AND
                                       24                                  (10) IN THE ALTERNATIVE,
                                                                                VIOLATION OF THE CARMACK
                                       25                                       AMENDMENT TO THE
                                                                                INTERSTATE COMMERCE ACT,
                                       26                                       49 U.S.C. § 14706
                                       27                                                  DEMAND FOR JURY TRIAL
                                       28
          BUCHALTER
A P R O F E S S I ON A L C OR P OR A T I O N
                 I R VIN E                        BN 78899243v1                            1               Case No. 8:23-cv-00519 HDV (JDEx)
                                                                                SECOND AMENDED COMPLAINT
                         Case 8:23-cv-00519-HDV-JDE Document 37 Filed 10/23/23 Page 2 of 21 Page ID #:208



                                               1              Plaintiff VIZIO, Inc. (“Vizio”) complains and alleges against defendants
                                               2 Dedicated Logistics, LLC;1 Dedicated Logistics Services, LLC; and Total Logistics
                                               3 I, LLC (collectively, “Defendants” or “Dedicated Logistics”) as follows:
                                               4                                       NATURE OF ACTION
                                               5              1.       This is an action for violation of California Penal Code section 496(a);
                                               6 conversion; breach of contract; breach of contract of a third-party beneficiary; breach
                                               7 of the implied covenant of good faith and fair dealing; negligent supervision, hiring,
                                               8 and retention; fraud; negligent interference with prospective economic relations;
                                               9 intentional interference with prospective economic relations; and, in the alternative,
                                       10 violation of the Carmack Amendment to the Interstate Commerce Act, 49 U.S.C.
                                       11 section 14706. Specifically, Dedicated Logistics stole and concealed the theft of
                                       12 Vizio’s product on no fewer than 33 separate occasions during transport from a
                                       13 warehouse to various retail distribution centers or hubs, and then fraudulently
                                       14 modified the related bills of lading and electronic records to reflect a lower quantity
                                       15 of product than what Dedicated Logistics originally received from Vizio. Vizio seeks
                                       16 damages, attorneys’ fees, costs, treble damage, punitive and exemplary damage, and
                                       17 pre-judgment and post-judgment interest. The basis for this Court’s jurisdiction is 28
                                       18 U.S.C. section 1332(a).
                                       19                                                   THE PARTIES
                                       20                     2.       At all times relevant hereto, Vizio was and is a corporation incorporated
                                       21 in California with its principal place of business in Irvine, California.
                                       22                     3.       At all times relevant hereto, up to and including October 30, 2021,
                                       23 Dedicated Logistics, Inc. was a corporation incorporated in Minnesota with its
                                       24 principal place of business in Oakdale, Minnesota. On or around October 30, 2021,
                                       25 Dedicated Logistics, Inc. converted to Dedicated Logistics, LLC. On information and
                                       26          1
                                                     Effective October 30, 2021, Dedicated Logistics, Inc. converted to Dedicated Logistics, LLC.
                                                   Under Minnesota law, “[a]n organization that has been converted . . . is for all purposes the same
                                       27          entity that existed before the conversion.” Minn.Stat. § 302A.691, subd. 1; see, e.g., Delamater v.
                                                   Anytime Fitness, Inc., 722 F. Supp. 2d 1168, 1176 (E.D. Cal. 2010) (observing “under Minnesota
                                       28          law, Anytime Fitness LLC is deemed to be the same entity as Anytime Fitness, Inc. . . . .”).
          BUCHALTER
A P R O F E S S I ON A L C OR P OR A T I O N
                 I R VIN E                             BN 78899243v1                                2                  Case No. 8:23-cv-00519 HDV (JDEx)
                                                                                       SECOND AMENDED COMPLAINT
                         Case 8:23-cv-00519-HDV-JDE Document 37 Filed 10/23/23 Page 3 of 21 Page ID #:209



                                               1 belief, Dedicated Logistics, LLC’s sole member is Steve Magruder, who is a resident
                                               2 of and domiciled in Minnesota.
                                               3          4.       On information and belief and at all times relevant hereto, Dedicated
                                               4 Logistics Services, LLC’s sole member is Thomas Wintz, who is a resident of and
                                               5 domiciled in Minnesota.
                                               6          5.       On information and belief and at all times relevant hereto, Total
                                               7 Logistics I, LLC’s members are residents of and domiciled in Minnesota.
                                               8          6.       Vizio does not currently know the true names and capacities of the
                                               9 defendants sued herein as DOES 1 through 10, inclusive, and therefore sues these
                                       10 defendants by fictitious names in conformance with Local Rule 19-1. Vizio will
                                       11 amend this complaint to state the true names and capacities of the fictitiously named
                                       12 defendants when those names are ascertained. Vizio is informed and believes and
                                       13 thereon alleges that each of the fictitiously named defendants was legally responsible
                                       14 in some manner for the events and damages alleged in the complaint.
                                       15                 7.       As to all claims alleged herein, each defendant was the agent and
                                       16 employee of each of the other defendants.
                                       17                 8.       As to all claims alleged herein, there is interrelation of operations,
                                       18 common management, centralized control of labor relations, and common ownership
                                       19 or financial control among Defendants amounting to an integrated enterprise.
                                       20                 9.       As to all claims alleged herein, there exists a unity of interests and
                                       21 ownership among Defendants and Defendants’ members and beneficial owners,
                                       22 Steve Magruder and Thomas Wintz, and if the acts by one Defendant were treated as
                                       23 acts of that entity alone, an inequitable result would follow. Defendants’ website
                                       24 identifies Dedicated Logistics, LLC as a “Member of Total Logistics, LLC.” But
                                       25 Defendants’ Notice of Interested Parties (Docket No. 22) identifies Total Logistics I,
                                       26 LLC as Dedicated Logistics, LLC’s “Parent Company.” On information and belief,
                                       27 Defendants, and their members and beneficial owners Steve Magruder and Thomas
                                       28 Wintz, acting through Total Logistics I, LLC, intentionally undercapitalized
          BUCHALTER
A P R O F E S S I ON A L C OR P OR A T I O N
                 I R VIN E                         BN 78899243v1                               3               Case No. 8:23-cv-00519 HDV (JDEx)
                                                                                   SECOND AMENDED COMPLAINT
                         Case 8:23-cv-00519-HDV-JDE Document 37 Filed 10/23/23 Page 4 of 21 Page ID #:210



                                               1 Dedicated Logistics, LLC and Dedicated Logistics Services, LLC to escape liability
                                               2 for potential judgments. Consequently, adherence to the fiction of the separate
                                               3 existence of Defendants would sanction a fraud or promote injustice.
                                               4          10.      As to all claims alleged herein, and on information and belief, in
                                               5 furtherance of the false representations Dedicated Logistics made to Vizio,
                                               6 Defendants, and each of their members and beneficial owners including Steve
                                               7 Magruder and Thomas Wintz, conducted financial transactions with each other and
                                               8 across their unity of interests and ownership. The financial transactions that
                                               9 Defendants conducted were made, on information and belief, without adequate
                                       10 consideration or any reasonably equivalent value in exchange, or otherwise made
                                       11 with the intent to maintain an unreasonably small amount of capital. On information
                                       12 and belief, Defendants conducted these financial transactions with actual intent to
                                       13 hinder or delay Dedicated Logistics, LLC’s ability to satisfy potential judgments, or
                                       14 otherwise with the actual intent to undercapitalize Dedicated Logistics, LLC while,
                                       15 at the same time, retaining full, shared control of each Defendant’s assets, financial
                                       16 accounts, operations, and employees within the unity of interests and ownership
                                       17 among Defendants, and each of their members, beneficial owners including Steve
                                       18 Magruder and Thomas Wintz, and other insiders and affiliated entities or persons.
                                       19                                     JURISDICTION AND VENUE
                                       20                 11.      The jurisdiction of the Court is founded on diversity of citizenship
                                       21 pursuant to 28 U.S.C. section 1332(a): Vizio is a citizen of California for purposes
                                       22 of diversity jurisdiction; Dedicated Logistics, LLC, Dedicated Logistics Services,
                                       23 LLC, and Total Logistics I, LLC are citizens of Minnesota for purposes of diversity
                                       24 jurisdiction because, on information and belief, their members and beneficial owners
                                       25 are citizens of Minnesota. Additionally, Vizio’s damages exceed $75,000.00,
                                       26 exclusive of interest and costs.
                                       27                 12.      Venue is proper in the Central District of California pursuant to 28
                                       28 U.S.C. section 1391(b)(2) because the events giving rise to the claim occurred in the
          BUCHALTER
A P R O F E S S I ON A L C OR P OR A T I O N
                 I R VIN E                         BN 78899243v1                              4               Case No. 8:23-cv-00519 HDV (JDEx)
                                                                                  SECOND AMENDED COMPLAINT
                         Case 8:23-cv-00519-HDV-JDE Document 37 Filed 10/23/23 Page 5 of 21 Page ID #:211



                                               1 Central District of California—specifically, Orange County and Los Angeles County.
                                               2          13.      The Court has personal jurisdiction over Defendants and DOES 1-10
                                               3 because they (1) are present, doing business, or residing in the Central District of
                                               4 California (namely, Orange County and Los Angeles County), (2) committed tortious
                                               5 acts and violated Vizio’s rights in the Central District of California (namely, Orange
                                               6 County and Los Angeles County), and (3) knew or should have known that such
                                               7 conduct would cause injury to Vizio in the State of California.
                                               8                                GENERAL ALLEGATIONS
                                               9          14.      Vizio is a consumer electronics company that offers televisions,
                                       10 soundbars, and home entertainment accessories to consumers as well as content on
                                       11 its SmartCast platform. Vizio’s products are available for purchase at various retail
                                       12 stores throughout California.
                                       13                 15.      Vizio engaged the services of Dedicated Logistics to transport Vizio’s
                                       14 product (for example, televisions and soundbars) from a warehouse in Los Angeles
                                       15 County to other locations in California. Each trip between the warehouse and the trip
                                       16 destinations was entirely intrastate; that is, each originated and terminated in
                                       17 California.
                                       18                 16.      During each trip, Dedicated Logistics received Vizio’s product at a
                                       19 warehouse and delivered it to the above-referenced destinations.
                                       20                 17.      A bill of lading was issued for each transfer of Vizio’s product and it
                                       21 identified, among other things, the “ship from” and “ship to” addresses, the carrier
                                       22 name (here, Dedicated Logistics), the number of packages, weight, and commodity
                                       23 descriptions.
                                       24                 18.      At all times relevant hereto, Vizio owned the product transported by
                                       25 Dedicated Logistics.
                                       26                 19.      Starting on or around January 28, 2021, and continuing through on or
                                       27 about December 21, 2022, Dedicated Logistics stole, concealed, withheld, and aided
                                       28 in stealing, concealing, or withholding at least $2,426,805.07 worth of product from
          BUCHALTER
A P R O F E S S I ON A L C OR P OR A T I O N
                 I R VIN E                         BN 78899243v1                               5                Case No. 8:23-cv-00519 HDV (JDEx)
                                                                                   SECOND AMENDED COMPLAINT
                         Case 8:23-cv-00519-HDV-JDE Document 37 Filed 10/23/23 Page 6 of 21 Page ID #:212



                                               1 Vizio over the course of 33 trips from the warehouse to various retail distribution
                                               2 centers or hubs within California. Specifically, Dedicated Logistics received Vizio’s
                                               3 product from the warehouse (to be delivered to various retail distribution centers or
                                               4 hubs); however, before the product was delivered to the various retail distribution
                                               5 centers or hubs, Dedicated Logistics stole, concealed, withheld, and aided in stealing,
                                               6 concealing, or withholding, a significant portion of each of the 33 deliveries.
                                               7          20.      In furtherance of stealing, concealing, withholding, and aiding in
                                               8 stealing, concealing, and withholding Vizio’s product, Dedicated Logistics
                                               9 fraudulently modified the relevant bills of lading for Vizio’s product to reflect a lower
                                       10 quantity of product than what Dedicated Logistics received at the warehouse.
                                       11 Dedicated Logistics modified the bills of lading to conceal its thefts from Vizio.
                                       12                 21.      In furtherance of stealing, concealing, withholding, and aiding in
                                       13 stealing, concealing, and withholding Vizio’s product, Dedicated Logistics also
                                       14 modified the relevant electronic records related to each delivery of Vizio’s product
                                       15 to reflect lower quantities than what Dedicated Logistics received at the warehouse
                                       16 in a further attempt to conceal its thefts of Vizio’s product.
                                       17                 22.      As of the date of this submission, Vizio is aware of at least
                                       18 $2,426,805.07 worth of product that was stolen, concealed, and withheld by
                                       19 Dedicated Logistics when it transported Vizio’s product from a California warehouse
                                       20 to various retail distribution centers or hubs within California.
                                       21                     DEDICATED LOGISTICS’ EMPLOYMENT OF DRIVERS
                                       22                 23.      At all relevant times hereto, Dedicated Logistics, at the direction of its
                                       23 officers, directors, or managing agents, exercised significant control over its drivers.
                                       24                 24.      On information and belief, Dedicated Logistics advised its drivers of the
                                       25 pickup and drop-off locations, including through the use of bills of lading.
                                       26                 25.      On information and belief, Dedicated Logistics’ drivers are subject to
                                       27 its control while performing delivery services on behalf of and at the direction of
                                       28 Dedicated Logistics.
          BUCHALTER
A P R O F E S S I ON A L C OR P OR A T I O N
                 I R VIN E                         BN 78899243v1                                6                 Case No. 8:23-cv-00519 HDV (JDEx)
                                                                                   SECOND AMENDED COMPLAINT
                         Case 8:23-cv-00519-HDV-JDE Document 37 Filed 10/23/23 Page 7 of 21 Page ID #:213



                                               1          26.      On information and belief, Dedicated Logistics retains the right to direct
                                               2 and does indeed direct how the work of its drivers shall be done as well as the result
                                               3 to be accomplished.
                                               4          27.      Dedicated Logistics retains and exercises the right to control all aspects
                                               5 of its drivers’ work, including, but not limited to: (1) timing of receipt and delivery
                                               6 of product; (2) location of product receipt and delivery; (3) the amount and type of
                                               7 freight to be transported; (4) the right to set prices for transportation without driver
                                               8 input; (5) the right to modify charges to its customers; (6) the right to control various
                                               9 aspects of the manner and means by which drivers complete their deliveries; (7) the
                                       10 right to require drivers to use only specific types of trucks; and (8) salary and other
                                       11 compensation for its drivers.
                                       12                 28.      At all relevant times, Dedicated Logistics’ drivers were acting in the
                                       13 scope of their employment (namely, transporting product from warehouses in
                                       14 California to destinations in California) when they stole, knowingly permitted others
                                       15 to steal, recklessly failed to prevent others from stealing, and concealed the loss of at
                                       16 least $2,426,805.07 worth of product from Vizio. Indeed, Dedicated Logistics’
                                       17 drivers’ repeated thefts were an outgrowth of the transportation services provided to
                                       18 Vizio.
                                       19                                        FIRST CAUSE OF ACTION
                                       20                                  (Violation of Penal Code section 496(a))
                                       21                                (Against Dedicated Logistics and DOES 1-10)
                                       22                 29.      Vizio re-alleges and incorporates herein by reference each and every
                                       23 allegation set forth in Paragraphs 1 through 28, inclusive, as though set forth fully
                                       24 herein.
                                       25                 30.      Vizio is informed and believes and thereon alleges that Dedicated
                                       26 Logistics diverted Vizio’s product to itself, to its employees, or to others, as further
                                       27 set forth above, in an amount of at least $2,426,805.07. Dedicated Logistics, its
                                       28 employees, its driver, and its agents, stole, concealed, withheld, and aided in stealing,
          BUCHALTER
A P R O F E S S I ON A L C OR P OR A T I O N
                 I R VIN E                         BN 78899243v1                                7                 Case No. 8:23-cv-00519 HDV (JDEx)
                                                                                   SECOND AMENDED COMPLAINT
                         Case 8:23-cv-00519-HDV-JDE Document 37 Filed 10/23/23 Page 8 of 21 Page ID #:214



                                               1 concealing, and withholding Vizio’s product when it knowingly and intentionally
                                               2 failed to deliver Vizio’s product and fraudulently modified the bills of lading and
                                               3 related electronic records to reflect lower quantities of product transported. Dedicated
                                               4 Logistics’ modifications of the bills of lading and related electronic records
                                               5 concealed thefts from at least 33 deliveries of Vizio’s product.
                                               6          31.      Dedicated Logistics knowingly stole, concealed, withheld, or aided in
                                               7 stealing, concealing, or withholding Vizio product and, thus, has violated California
                                               8 Penal Code section 496(a) on a continuing basis.
                                               9          32.      Vizio has been injured as a direct and proximate cause of Dedicated
                                       10 Logistics’ violations of California Penal Code section 496(a) in an amount of at least
                                       11 $2,426,805.07. Further, Vizio continues to be injured by Dedicated Logistics’ failure
                                       12 and refusal to return Vizio’s product, or to compensate Vizio for stealing, concealing,
                                       13 withholding, and aiding in stealing, concealing, and withholding Vizio’s product.
                                       14                 33.      Dedicated Logistics’ actions in violation of California Penal Code
                                       15 section 496(a) entitle Vizio to bring this action and recover three times the amount
                                       16 of actual damages sustained by Vizio, in addition to costs of suit and reasonable
                                       17 attorneys’ fees. See Cal. Penal Code § 496(c).
                                       18                                      SECOND CAUSE OF ACTION
                                       19                                                (Conversion)
                                       20                               (Against Dedicated Logistics and DOES 1-10)
                                       21                 34.      Vizio re-alleges and incorporates herein by reference each and every
                                       22 allegation set forth in Paragraphs 1 through 33, inclusive, as though set forth fully
                                       23 herein.
                                       24                 35.      At all times relevant herein, Vizio was, and still is, the owner of the
                                       25 product that was stolen, concealed, and withheld by Dedicated Logistics, in an
                                       26 amount of at least $2,426,805.07.
                                       27                 36.      Dedicated Logistics stole, concealed, withheld, and aided in stealing,
                                       28 concealing, and withholding Vizio’s product, in an amount of not less than
          BUCHALTER
A P R O F E S S I ON A L C OR P OR A T I O N
                 I R VIN E                         BN 78899243v1                               8                Case No. 8:23-cv-00519 HDV (JDEx)
                                                                                   SECOND AMENDED COMPLAINT
                         Case 8:23-cv-00519-HDV-JDE Document 37 Filed 10/23/23 Page 9 of 21 Page ID #:215



                                               1 $2,426,805.07, during scheduled transports from warehouses in California to the
                                               2 agreed upon destinations in California.
                                               3          37.      Vizio did not permit or allow Dedicated Logistics to steal, conceal,
                                               4 withhold, or aid in concealing and withholding its product.
                                               5          38.      Vizio has been injured as a direct and proximate cause of Dedicated
                                               6 Logistics’ conversion in an amount of at least $2,426,805.07 (the value of the
                                               7 converted product).
                                               8                               THIRD CAUSE OF ACTION
                                               9                                    (Breach of Contract)
                                       10                               (Against Dedicated Logistics and DOES 1-10)
                                       11                 39.      Vizio re-alleges and incorporates herein by reference each and every
                                       12 allegation set forth in Paragraphs 1 through 38, inclusive, as though set forth fully
                                       13 herein.
                                       14                 40.      Dedicated Logistics entered into written agreements with Vizio on the
                                       15 following dates: January 28, 2021; March 10, 2021; April 19, 2021; April 22, 2021;
                                       16 April 27, 2021; May 3, 2021; May 10, 2021; May 12, 2021; May 17, 2021; July 12,
                                       17 2021; July 22, 2021; August 31, 2021; September 14, 2021; September 20, 2021;
                                       18 October 21, 2021; November 3, 2021 (two); November 8, 2021 (two); November 15,
                                       19 2021; November 16, 2021; November 30, 2021; December 14, 2021; December 22,
                                       20 2021; January 18, 2022; February 2, 2022; March 10, 2022; March 22, 2022; March
                                       21 29, 2022 (three); April 12, 2022; and December 21, 2022.
                                       22                 41.      Each written agreement was identified as a “Non-Negotiable Bill of
                                       23 Lading.” True and correct copies of each of the foregoing Non-Negotiable Bills of
                                       24 Lading between Dedicated Logistics and Vizio are attached hereto as Exhibit A,
                                       25 which are fully incorporated herein by reference (the “Bills of Lading”).
                                       26                 42.      Pursuant to each Bill of Lading, Dedicated Logistics agreed, among
                                       27 other things, to transport Vizio’s product from warehouses in California to
                                       28 destinations in California.
          BUCHALTER
A P R O F E S S I ON A L C OR P OR A T I O N
                 I R VIN E                         BN 78899243v1                              9                Case No. 8:23-cv-00519 HDV (JDEx)
                                                                                  SECOND AMENDED COMPLAINT
                       Case 8:23-cv-00519-HDV-JDE Document 37 Filed 10/23/23 Page 10 of 21 Page ID #:216



                                               1          43.      Pursuant to each Bill of Lading, Dedicated Logistics agreed to transport
                                               2 specific quantities of Vizio’s product from warehouses in California to destinations
                                               3 in California.
                                               4          44.      Pursuant to each Bill of Lading, Dedicated Logistics agreed to transport
                                               5 Vizio’s product to destinations in California within a specified “delivery window.”
                                               6          45.      Within each Bill of Lading, Dedicated Logistics is specifically identified
                                               7 as the “Carrier.”
                                               8          46.      Dedicated Logistics breached each Bill of Lading in several ways,
                                               9 including, but not limited to: (a) failing to transport Vizio’s product from warehouses
                                       10 in California to the agreed upon destinations in California; (b) failing to transport the
                                       11 specific quantities of Vizio’s product identified in each Bill of Lading; (c) failing to
                                       12 deliver the specific quantities of Vizio’s product within the “delivery window[s]”
                                       13 identified in each Bill of Lading; and (d) stealing, concealing, withholding, and
                                       14 aiding in stealing, concealing, and withholding Vizio’s product in transit from
                                       15 warehouses in California to the agreed upon destinations in California.
                                       16                 47.      Dedicated Logistics’ breaches of each Bill of Lading have caused
                                       17 damage, and are continuing to cause damage, to Vizio and were a substantial factor
                                       18 in causing financial, reputational, economic, and non-economic harm to Vizio.
                                       19                 48.      Vizio is entitled to a monetary award of damages to be determined at
                                       20 trial, including interest accruing at the legal rate.
                                       21                                      FOURTH CAUSE OF ACTION
                                       22                  (Breach of Contract—Third-Party Beneficiary (Civ. Code § 1559)
                                       23                                (Against Dedicated Logistics and DOES 1-10)
                                       24                 49.      Vizio re-alleges and incorporates herein by reference each and every
                                       25 allegation set forth in Paragraphs 1 through 48, inclusive, as though set forth fully
                                       26 herein.
                                       27                 50.      Dedicated Logistics entered an agreement with Vizio’s transportation
                                       28 logistics manager, Transplace Texas, LP, a Texas limited partnership (“Transplace”)
          BUCHALTER
A P R O F E S S I ON A L C OR P OR A T I O N
                 I R VIN E                         BN 78899243v1                                10                Case No. 8:23-cv-00519 HDV (JDEx)
                                                                                   SECOND AMENDED COMPLAINT
                       Case 8:23-cv-00519-HDV-JDE Document 37 Filed 10/23/23 Page 11 of 21 Page ID #:217



                                               1 on or about January 14, 2021 (the “Dedicated Logistics/Transplace Agreement”). A
                                               2 true and correct copy of the Dedicated Logistics/Transplace Agreement is attached
                                               3 hereto as Exhibit B, which is fully incorporated herein by reference.
                                               4          51.      In Section 1.1 of the Dedicated Logistics/Transplace Agreement,
                                               5 Dedicated Logistics (referred to as “CONTRACTOR”) and Transplace (referred to
                                               6 as “BROKER”) agreed, among other things, to the following:
                                               7          BROKER, from time to time in its sole discretion, may arrange for the
                                                          transportation of shipments with CONTRACTOR for the Customers
                                               8
                                                          who shall be third party beneficiaries of CONTRACTOR’S obligations
                                               9          under this Agreement.
                                       10                 52.      Pursuant to the terms of the Dedicated Logistics/Transplace Agreement,
                                       11 Transplace arranged for Dedicated Logistics to transport Vizio’s product from
                                       12 warehouses in California to the agreed upon destinations in California, as reflected
                                       13 in the Bills of Lading.
                                       14                 53.      Pursuant to the terms of the Dedicated Logistics/Transplace Agreement,
                                       15 Dedicated Logistics agreed to transport specific quantities of Vizio’s product from
                                       16 warehouses in California to the agreed upon destinations in California, as reflected
                                       17 in the Bills of Lading.
                                       18                 54.      Pursuant to each Bill of Lading, Dedicated Logistics agreed to transport
                                       19 Vizio’s product from warehouses in California to the agreed upon destinations in
                                       20 California within a specified “delivery window”, as reflected in the Bills of Lading.
                                       21                 55.      Vizio is a “Customer” and third-party beneficiary, as defined in Section
                                       22 1.1 of the Dedicated Logistics/Transplace Agreement.
                                       23                 56.      Vizio    was    an    intended    beneficiary       of      the     Dedicated
                                       24 Logistics/Transplace Agreement for each transport specific of quantities of Vizio’s
                                       25 product, as reflected in each Bill of Lading.
                                       26                 57.      In entering the Dedicated Logistics/Transplace Agreement, it was a
                                       27 motivating purpose of Dedicated Logistics and Transplace for Vizio and other
                                       28 “Customers” to benefit from the Dedicated Logistics/Transplace Agreement.
          BUCHALTER
A P R O F E S S I ON A L C OR P OR A T I O N
                 I R VIN E                         BN 78899243v1                               11                  Case No. 8:23-cv-00519 HDV (JDEx)
                                                                                   SECOND AMENDED COMPLAINT
                       Case 8:23-cv-00519-HDV-JDE Document 37 Filed 10/23/23 Page 12 of 21 Page ID #:218



                                               1          58.      Dedicated Logistics breached the Dedicated Logistics/Transplace
                                               2 Agreement in several ways, including, but not limited to: (a) failing to transport
                                               3 Vizio’s product from warehouses in California to the agreed upon destinations in
                                               4 California identified in each Bill of Lading; (b) failing to transport the specific
                                               5 quantities of Vizio’s product identified in each Bill of Lading; (c) failing to deliver
                                               6 the specific quantities of Vizio’s product within the “delivery window[s]” identified
                                               7 in each Bill of Lading; (d) stealing, concealing, and withholding information about
                                               8 the loss of Vizio’s product in transit from warehouses in California to the agreed
                                               9 upon destinations in California identified in each Bill of Lading; and (e) failing to
                                       10 compensate Vizio for the loss, theft, conversion, and related failure to transport
                                       11 Vizio’s product identified in each Bill of Lading.
                                       12                 59.      Dedicated Logistics’ breaches of the Dedicated Logistics/Transplace
                                       13 Agreement have caused damage, and are continuing to cause damage, to Vizio and
                                       14 were a substantial factor in causing financial, reputational, economic, and non-
                                       15 economic harm to Vizio.
                                       16                 60.      Vizio is entitled to a monetary award of damages to be determined at
                                       17 trial, including interest accruing at the legal rate, as a third-party beneficiary of the
                                       18 Dedicated Logistics/Transplace Agreement.
                                       19                                       FIFTH CAUSE OF ACTION
                                       20                  (Breach of the Implied Covenant of Good Faith and Fair Dealing)
                                       21                             (Against Dedicated Logistics and DOES 1-10)
                                       22                 61.      Vizio re-alleges and incorporates herein by reference each and every
                                       23 allegation set forth in Paragraphs 1 through 60, inclusive, as though set forth fully
                                       24 herein.
                                       25                 62.      California law dictates that every contract contains an implied covenant
                                       26 of good faith and fair dealing, which requires the parties to the contract to refrain
                                       27 from acts or omissions that may foreseeably and unfairly deprive a party of the
                                       28 benefits of the bargain.
          BUCHALTER
A P R O F E S S I ON A L C OR P OR A T I O N
                 I R VIN E                         BN 78899243v1                               12                Case No. 8:23-cv-00519 HDV (JDEx)
                                                                                   SECOND AMENDED COMPLAINT
                       Case 8:23-cv-00519-HDV-JDE Document 37 Filed 10/23/23 Page 13 of 21 Page ID #:219



                                               1          63.      Vizio and Dedicated Logistics had in effect, at all relevant times, 33
                                               2 agreements related to the transport of Vizio’s product by Dedicated Logistics, as
                                               3 reflected in the Bills of Lading.
                                               4          64.      The implied covenant of good faith and fair dealing required Dedicated
                                               5 Logistics to perform the terms and conditions of each Bill of Lading fairly and in
                                               6 good faith and to refrain from doing any act that would deprive Vizio of the benefits
                                               7 of the agreements.
                                               8          65.      Vizio performed all of the conditions, covenants, and promises required
                                               9 of Vizio to be performed under the terms of the Bills of Lading, except those
                                       10 conditions, covenants, and promises that Vizio was excused from performing due to
                                       11 Dedicated Logistics’ breaches.
                                       12                 66.      Dedicated Logistics unfairly interfered with Vizio’s right to the benefits
                                       13 of the Bills of Lading and, thus, breached the implied covenant of good faith and fair
                                       14 dealing under the agreements by, among other things: (1) stealing Vizio’s product
                                       15 that was the subject of each agreement; (2) failing to return Vizio’s property; and (3)
                                       16 fraudulently modifying the Bills of Lading and relevant electronic records in an
                                       17 attempt to conceal Dedicated Logistics’ thefts and breaches.
                                       18                 67.      As a direct and proximate cause of Dedicated Logistics’ wrongful
                                       19 conduct, omissions, and overall breaches of the implied covenant of good faith and
                                       20 fair dealing, Vizio has suffered, and continues to suffer, damages in an amount to be
                                       21 determined according to proof at trial, and at least $2,426,805.07.
                                       22                 68.      As a result of Dedicated Logistics’ wrongful conduct, omissions, and
                                       23 overall breaches of the implied covenant of good faith and fair dealing, Vizio has
                                       24 suffered and is continuing to suffer immediate and irreparable injury in that
                                       25 Dedicated Logistics’ conduct is causing reputational harm to Vizio, including
                                       26 damaging Vizio’s goodwill, above and beyond the substantial monetary damages
                                       27 Dedicated Logistics’ breaches have inflicted.
                                       28
          BUCHALTER
A P R O F E S S I ON A L C OR P OR A T I O N
                 I R VIN E                         BN 78899243v1                                13                Case No. 8:23-cv-00519 HDV (JDEx)
                                                                                   SECOND AMENDED COMPLAINT
                       Case 8:23-cv-00519-HDV-JDE Document 37 Filed 10/23/23 Page 14 of 21 Page ID #:220



                                               1                                SIXTH CAUSE OF ACTION
                                               2                       (Negligent Supervision, Hiring, and Retention)
                                               3                        (Against Dedicated Logistics and DOES 1-10)
                                               4          69.      Vizio re-alleges and incorporates herein by reference each and every
                                               5 allegation set forth in Paragraphs 1 through 68, inclusive, as though set forth fully
                                               6 herein.
                                               7          70.      At all times relevant hereto, Dedicated Logistics knew or should have
                                               8 known that its drivers, employees, and agents were capable of stealing Vizio’s
                                               9 product.
                                       10                 71.      Dedicated Logistics owed a duty to Vizio to use reasonable care in the
                                       11 hiring, training, and supervision of its drivers, employees, and agents.
                                       12                 72.      Dedicated Logistics breached its duty of care in the hiring, retention,
                                       13 training, and supervision of its drivers, employees, and agents, who were unfit to be
                                       14 a provider of transportation services to Vizio and were inadequately trained or
                                       15 supervised. Dedicated Logistics knew or should have known that its drivers,
                                       16 employees, and agents had stolen, concealed, withheld, and aided in stealing,
                                       17 concealing, and withholding Vizio’s product prior to and during the effective dates
                                       18 of the Bills of Lading. On information and belief, Dedicated Logistics knew or should
                                       19 have known that its drivers, employees, and agents committed prior criminal acts,
                                       20 including theft or conspiracy to steal, at the time they were hired and continuing
                                       21 through their retention and supervision.
                                       22                 73.      As a direct and proximate cause of Dedicated Logistics’ breach of its
                                       23 duty to use reasonable care in the hiring, training, and supervision of its drivers,
                                       24 employees, and agents Vizio sustained substantial monetary damages in an amount
                                       25 of at least $2,426,805.07.
                                       26 / / /
                                       27 / / /
                                       28 / / /
          BUCHALTER
A P R O F E S S I ON A L C OR P OR A T I O N
                 I R VIN E                         BN 78899243v1                              14                Case No. 8:23-cv-00519 HDV (JDEx)
                                                                                   SECOND AMENDED COMPLAINT
                       Case 8:23-cv-00519-HDV-JDE Document 37 Filed 10/23/23 Page 15 of 21 Page ID #:221



                                               1                              SEVENTH CAUSE OF ACTION
                                               2                                            (Fraud)
                                               3                         (Against Dedicated Logistics and DOES 1-10)
                                               4          74.      Vizio re-alleges and incorporates herein by reference each and every
                                               5 allegation set forth in Paragraphs 1 through 73, inclusive, as though set forth fully
                                               6 herein.
                                               7          75.      Dedicated Logistics made fraudulent misrepresentations to Vizio in
                                               8 each Bill of Lading on the following dates: January 28, 2021; March 10, 2021; April
                                               9 19, 2021; April 22, 2021; April 27, 2021; May 3, 2021; May 10, 2021; May 12, 2021;
                                       10 May 17, 2021; July 12, 2021; July 22, 2021; August 31, 2021; September 14, 2021;
                                       11 September 20, 2021; October 21, 2021; November 3, 2021 (two); November 8, 2021
                                       12 (two); November 15, 2021; November 16, 2021; November 30, 2021; December 14,
                                       13 2021; December 22, 2021; January 18, 2022; February 2, 2022; March 10, 2022;
                                       14 March 22, 2022; March 29, 2022 (three); April 12, 2022; and December 21, 2022.
                                       15                 76.      More specifically, Dedicated Logistics fraudulently modified each of
                                       16 the Bills of Lading to reflect a lower quantity of Vizio’s product than what was
                                       17 scheduled to be transported as reflected in the Bills of Lading. On information and
                                       18 belief, Dedicated Logistics lowered the quantity of Vizio’s product transported for
                                       19 each of the Bills of Lading and stole the difference in product from Vizio.
                                       20                 77.      Dedicated Logistics also modified the electronic records related to each
                                       21 of the transports identified in each Bill of Lading to reflect the same lowered
                                       22 quantities of Vizio’s product.
                                       23                 78.      Dedicated Logistics made representations to Vizio that the Bills of
                                       24 Lading were true, but they were false. Dedicated Logistics knew that the
                                       25 representations in the Bills of Lading were false when it made them. Dedicated
                                       26 Logistics made these false representations to Vizio with the intent to deceive Vizio
                                       27 and with the intent that Vizio would rely on them. At the time these representations
                                       28 were made, Vizio was ignorant of the falsity of Dedicated Logistics’ representations
          BUCHALTER
A P R O F E S S I ON A L C OR P OR A T I O N
                 I R VIN E                         BN 78899243v1                               15                Case No. 8:23-cv-00519 HDV (JDEx)
                                                                                   SECOND AMENDED COMPLAINT
                       Case 8:23-cv-00519-HDV-JDE Document 37 Filed 10/23/23 Page 16 of 21 Page ID #:222



                                               1 and believed them to be true.
                                               2          79.      Dedicated Logistics is likely to have greater knowledge of the facts
                                               3 surrounding its fraud since it attempted to conceal its misrepresentations to Vizio in
                                               4 the fraudulently modified Bills of Lading and related electronic records.
                                               5          80.      Vizio reasonably relied on these representations in that it believed that
                                               6 each Bill of Lading was accurate. Had Vizio known the truth behind Dedicated
                                               7 Logistics’ misrepresentations regarding the transport of specific quantities of Vizio’s
                                               8 product identified in each Bill of Lading, it could have and would have taken swift
                                               9 measures to protect Vizio from harm. Vizio was harmed as a result thereof. Vizio’s
                                       10 reliance on Dedicated Logistics’ representations was reasonable in that Vizio had no
                                       11 reason to question the above-referenced representations.
                                       12                 81.      Vizio has been damaged in an amount to be proved at trial, together with
                                       13 interest thereon at the legal rate.
                                       14                 82.      Dedicated Logistics’ acts of fraudulently modifying the Bills of Lading
                                       15 and related electronic records were willful, wanton, malicious, and oppressive in that
                                       16 they laid the groundwork for Dedicated Logistics to commit criminal acts (namely,
                                       17 theft and conspiracy to commit theft) against Vizio over an extended period of time
                                       18 by concealing Dedicated Logistics’ criminal acts. Dedicated Logistics’ acts justify
                                       19 an award of punitive and exemplary damages, in an amount to be determined at trial,
                                       20 to punish and serve as an example to deter others from such conduct.
                                       21                                      EIGHTH CAUSE OF ACTION
                                       22                     (Negligent Interference with Prospective Economic Relations)
                                       23                                (Against Dedicated Logistics and DOES 1-10)
                                       24                 83.      Vizio re-alleges and incorporates herein by reference each and every
                                       25 allegation set forth in Paragraphs 1 through 82, inclusive, as though set forth fully
                                       26 herein.
                                       27                 84.      Vizio and various retailers were in economic relationships related to the
                                       28 sale of televisions and home entertainment accessories. These economic relationships
          BUCHALTER
A P R O F E S S I ON A L C OR P OR A T I O N
                 I R VIN E                         BN 78899243v1                               16                Case No. 8:23-cv-00519 HDV (JDEx)
                                                                                   SECOND AMENDED COMPLAINT
                       Case 8:23-cv-00519-HDV-JDE Document 37 Filed 10/23/23 Page 17 of 21 Page ID #:223



                                               1 would have resulted in future economic benefit to Vizio through additional sales and
                                               2 increased revenue.
                                               3          85.      Dedicated Logistics knew or should have known of Vizio’s economic
                                               4 relationships with various retailers related to the sale of televisions and home
                                               5 entertainment accessories because it transported Vizio’s product from the warehouse
                                               6 in California to the retailers’ distribution centers or hubs in California.
                                               7          86.      Dedicated Logistics knew or should have known that these economic
                                               8 relationships would be disrupted if Dedicated Logistics stole, concealed, withheld,
                                               9 or aided in concealing and withholding product from Vizio and delivered less product
                                       10 to the various retail distribution centers or hubs than identified in each Bill of Lading.
                                       11                 87.      Dedicated Logistics failed to act with reasonable care when it (1) stole,
                                       12 concealed, withheld, and aided in stealing, concealing, and withholding product from
                                       13 Vizio and (2) failed to hire, train, and supervise its drivers to prevent them from
                                       14 stealing, concealing, withholding, or aiding in stealing, concealing, and withholding
                                       15 product from Vizio.
                                       16                 88.      Dedicated Logistics engaged in wrongful conduct through its theft,
                                       17 concealment, fraudulent misrepresentations related to, and loss of approximately
                                       18 $2,426,805.07 worth of Vizio’s product that was to be delivered to the various retail
                                       19 distribution centers or hubs.
                                       20                 89.      Vizio’s relationships with the various retailers were disrupted when
                                       21 Dedicated Logistics failed to transport the specific quantities of Vizio’s product
                                       22 identified in each Bill of Lading.
                                       23                 90.      Vizio was harmed in that it provided less of its product to the retailers,
                                       24 which decreased sales and revenue.
                                       25                 91.      Dedicated Logistics’ thefts were a substantial factor in causing Vizio’s
                                       26 harm.
                                       27 / / /
                                       28 / / /
          BUCHALTER
A P R O F E S S I ON A L C OR P OR A T I O N
                 I R VIN E                         BN 78899243v1                                17                Case No. 8:23-cv-00519 HDV (JDEx)
                                                                                   SECOND AMENDED COMPLAINT
                       Case 8:23-cv-00519-HDV-JDE Document 37 Filed 10/23/23 Page 18 of 21 Page ID #:224



                                               1                                NINTH CAUSE OF ACTION
                                               2             (Intentional Interference with Prospective Economic Relations)
                                               3                         (Against Dedicated Logistics and DOES 1-10)
                                               4          92.      Vizio re-alleges and incorporates herein by reference each and every
                                               5 allegation set forth in Paragraphs 1 through 91, inclusive, as though set forth fully
                                               6 herein.
                                               7          93.      Vizio and various retail stores (including Best Buy) were in economic
                                               8 relationships related to the sale of televisions and home entertainment accessories.
                                               9 These economic relationships would have resulted in future economic benefit to
                                       10 Vizio through additional sales and increased revenue.
                                       11                 94.      Dedicated Logistics knew of Vizio’s economic relationships with
                                       12 various retailers related to the sale of televisions and home entertainment accessories
                                       13 because it transported Vizio’s product from the warehouse in California to the
                                       14 retailers’ distribution centers or hubs in California.
                                       15                 95.      Dedicated Logistics engaged in wrongful conduct through its theft,
                                       16 concealment, fraudulent misrepresentations related to, and loss of approximately
                                       17 $2,426,805.07 worth of Vizio’s product that was to be delivered to the various retail
                                       18 distribution centers or hubs.
                                       19                 96.      Through its theft, concealment, fraudulent misrepresentations related to,
                                       20 and loss of approximately $2,426,805.07 worth of Vizio’s product, Dedicated
                                       21 Logistics knew that disruption of Vizio’s economic relationships with various retail
                                       22 stores was certain or substantially certain to occur because less of Vizio’s product
                                       23 would be provided, which would decrease sales and revenue.
                                       24                 97.      Vizio’s relationship with the various retail stores was disrupted when
                                       25 Dedicated Logistics failed to provide complete deliveries of Vizio’s product.
                                       26                 98.      Vizio was harmed in that it provided less of its product to the various
                                       27 retail stores, which decreased sales and revenue, as a result of Dedicated Logistics’
                                       28 failure to transport the specific quantities of Vizio’s product identified in each Bill of
          BUCHALTER
A P R O F E S S I ON A L C OR P OR A T I O N
                 I R VIN E                         BN 78899243v1                               18                Case No. 8:23-cv-00519 HDV (JDEx)
                                                                                   SECOND AMENDED COMPLAINT
                       Case 8:23-cv-00519-HDV-JDE Document 37 Filed 10/23/23 Page 19 of 21 Page ID #:225



                                               1 Lading.
                                               2          99.      Dedicated Logistics’ thefts, concealment, withholding, and aiding in
                                               3 stealing, concealing, and withholding Visio’s product were a substantial factor in
                                               4 causing Vizio’s harm.
                                               5                               TENTH CAUSE OF ACTION
                                               6                   (Violation of Carmack Amendment (49 U.S.C. § 14706))
                                               7                        (Against Dedicated Logistics and DOES 1-10)
                                               8          100. Vizio re-alleges and incorporates herein by reference each and every
                                               9 allegation set forth in Paragraphs 1 through 99, inclusive, as though set forth fully
                                       10 herein.
                                       11                 101. Pursuant to Rule 8(d)(2), Vizio hereby pleads in the alternative a
                                       12 violation of the Carmack Amendment (49 U.S.C. section 14706). Although
                                       13 Dedicated Logistics’ above-referenced acts occurred entirely within California and
                                       14 each contract for transport involved the transportation of goods entirely within
                                       15 California (specifically, Orange County and Los Angeles County), if the Court were
                                       16 to find that the Carmack Amendment exclusively applied to all of the conduct
                                       17 described in this complaint, Vizio hereby pleads a violation of the Carmack
                                       18 Amendment in the alternative.
                                       19                 102. Vizio pleads in the alternative that it provided its product to Dedicated
                                       20 Logistics in good condition to be transported to their destinations.
                                       21                 103. Vizio pleads in the alternative that Dedicated Logistics failed to deliver
                                       22 Vizio’s product to the agreed-upon destinations pursuant to the Bills of Lading.
                                       23                 104. Vizio pleads in the alternative that it was harmed in an amount no less
                                       24 than $2,426,805.07 (the value of the product that was not delivered).
                                       25                                         PRAYER FOR RELIEF
                                       26                 WHEREFORE, Vizio prays for relief as follows:
                                       27                 1.       For general damages in a sum of no less than $2,426,805.07;
                                       28                 2.       For three times the amount of actual damages sustained by Vizio
          BUCHALTER
A P R O F E S S I ON A L C OR P OR A T I O N
                 I R VIN E                         BN 78899243v1                              19               Case No. 8:23-cv-00519 HDV (JDEx)
                                                                                  SECOND AMENDED COMPLAINT
                       Case 8:23-cv-00519-HDV-JDE Document 37 Filed 10/23/23 Page 20 of 21 Page ID #:226



                                               1 pursuant to California Penal Code section 496(c);
                                               2          3.       For punitive damages and exemplary damages in amounts to be
                                               3 determined according to proof;
                                               4          4.       For reasonable attorneys’ fees pursuant to California Penal Code section
                                               5 496(c);
                                               6          5.       For costs of suit pursuant to California Penal Code section 496(c); and
                                               7          6.       For pre-judgment and post-judgment interest.
                                               8
                                               9 DATED: October 20, 2023                    BUCHALTER
                                                                                            A Professional Corporation
                                       10
                                       11
                                                                                            By: /s/ Matthew T. Drenan
                                       12                                                                 DANA HOBART
                                                                                                      MATTHEW T. DRENAN
                                       13                                                                DANIEL C. SILVA
                                                                                                           BRIAN SHAW
                                       14                                                               Attorneys for Plaintiff
                                                                                                            VIZIO, INC.
                                       15
                                       16
                                       17
                                       18
                                       19
                                       20
                                       21
                                       22
                                       23
                                       24
                                       25
                                       26
                                       27
                                       28
          BUCHALTER
A P R O F E S S I ON A L C OR P OR A T I O N
                 I R VIN E                         BN 78899243v1                               20                 Case No. 8:23-cv-00519 HDV (JDEx)
                                                                                   SECOND AMENDED COMPLAINT
                       Case 8:23-cv-00519-HDV-JDE Document 37 Filed 10/23/23 Page 21 of 21 Page ID #:227



                                               1                            DEMAND FOR JURY TRIAL
                                               2          Pursuant to Rule 38(b) and Local Rule 38-1, Vizio hereby demands a jury trial
                                               3 as to each cause of action asserted in the Complaint.
                                               4
                                                               20 2023
                                               5 DATED: October__,                       BUCHALTER
                                                                                         A Professional Corporation
                                               6
                                               7
                                                                                         By:
                                               8                                                       DANA HOBART
                                                                                                      MATTHEW DRENAN
                                               9                                                       DANIEL C. SILVA
                                                                                                         BRIAN SHAW
                                       10                                                             Attorneys for Plaintiff
                                                                                                          VIZIO, INC.
                                       11
                                       12
                                       13
                                       14
                                       15
                                       16
                                       17
                                       18
                                       19
                                       20
                                       21
                                       22
                                       23
                                       24
                                       25
                                       26
                                       27
                                       28
          BUCHALTER
A P R O F E S S I ON A L C OR P OR A T I O N
                 I R VIN E                         BN 78899243v1                            21               Case No. 8:23-cv-00519 HDV (JDEx)
                                                                                SECOND AMENDED COMPLAINT
